                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

TARVISIUM HOLDINGS, LLC, and                      )
45N12E, LLC,                                      )
                                                  )
       Plaintiffs/Counter Defendants,             )
                                                  )
       v.                                         )                  No. 4:19-CV-0086-DGK
                                                  )
DUKAT, LLC,                                       )
36LOWER, INC.,                                    )
ELLIOTT KATTAN, and                               )
BEN SCHWARTZ,                                     )
                                                  )
       Defendants/Counter Plaintiffs,             )
                                                  )
       v.                                         )
                                                  )
ANA PIEROPAN, and                                 )
MICHELE PIEROPAN,                                 )
                                                  )
       Third-Party Defendants.                    )

                ORDER REGARDING SUGGESTION OF BANKRUPTCY

       This lawsuit arises from Plaintiffs’ purchase of an e-Commerce business from Defendant

Dukat, LLC (“Dukat”). Plaintiffs allege that Defendants used unlawful methods to induce

Tarvisium to buy the business, including misrepresenting the company’s financial health during

negotiations by inflating the company’s historical sales and profitability.       Defendants have

counterclaimed against Plaintiffs and their principals for breach of the sales agreement by failing

to make payments on promissory notes to buy the business.

       Now before the Court is Dukat’s Suggestion of Bankruptcy. ECF No. 240. While the

bankruptcy filing automatically stays the litigation with respect to Dukat, it does not

automatically stay it with respect to the other litigants. Further potentially complicating matters,

Dukat was also a counter plaintiff.



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        The Court invites the parties to submit their views on the matter. Any party who wishes

to submit his, her, or its views on whether the Court should stay the entire case, or just stay the

case with respect to Dukat, may file a short brief, not to exceed five pages, on or before July 30,

2021. Any party may file a reply brief, not to exceed five pages, on or before August 13, 2021.

        IT IS SO ORDERED.

Date:   July 16, 2022                              /s/ Greg Kays______________________
                                                 GREG KAYS, JUDGE
                                                 UNITED STATES DISTRICT COURT




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